




Filed 6/5/18 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2018 ND 125







State of North Dakota, 		Plaintiff and Appellee



v.



Delpree Andrew Ashford, 		Defendant and Appellant







No. 20170307







Appeal from the District Court of Ward County, North Central Judicial District, the Honorable Gary H. Lee, Judge.



AFFIRMED.



Per Curiam.



Christopher W. Nelson (argued), Ward County Assistant State’s Attorney, Minot, ND, for plaintiff and appellee.



Laura C. Ringsak, Bismarck, ND, for defendant and appellant; submitted on brief.

State v. Ashford

No. 20170307



Per Curiam.

[¶1]	Delpree Ashford appeals from a criminal judgment entered after a jury found him guilty of delivery of a controlled substance, a class A felony. &nbsp;On appeal, Ashford argues the evidence was insufficient to support the verdict. &nbsp;We summarily affirm under N.D.R.App.P. 35.1(a)(3).

[¶2]	Gerald W. VandeWalle, C.J.

Jon J. Jensen

Lisa Fair McEvers

Daniel J. Crothers

Jerod E. Tufte




